Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 1 of 32

App’x 2
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 2 of 32

 

 

 

Supplemental
Economic Expert Report of:
Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF

In the Matter of:

Thomas M. Moran
v,
MTA Metro-North Railroad Company, et al.

United States District Court
Southern District of New York
19-CV-0307 9-AT

August 18, 2021

 

 

   

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Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 3 of 32

Table of Contents
Introduction and Background to the ASSIQNMENL 00... esscssessssssssecsrscessesecarssssecaseateseesscee
List of Additional Documents........cccssssssusscssessssssnsssnsssesesussssasssssusastssseseeeeeseeeec,

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Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 4 of 32

L Introduction and Background to the Assisnment

lam Josefina V. Tranfa~Abboud, Ph.D., CFE, MAFF, President and Chief Economist of Analytical
Economics Associates LLC (AEA). AEA is a consulting firm based in Morristown, NJ dedicated
to the evaluation and estimation of economic damages in legal disputes. My qualifications and
credentials include a Doctor of Philosophy (Ph.D.) degree in Economics from Florida State
University (Tallahassee, Florida) and a Bachelor of Science degree in Economics from
Universidad Central de Venezuela (Caracas, Venezuela). I hold a Certified Forensic Examiner
(CFE) license awarded by the Association of Certified Fraud Examiners (ACFE), and a Master
Analyst in Financial Forensics (MAFF) license awarded by the National Association of Certified
Valuators and Analysts (NACVA). My Curriculum Vitae is attached to this report as Exhibit “A”.

As discussed in the “Economic Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF”
dated March 9, 2020 (“the Tranfa-Abboud 2020 report”), I have been asked by The Law Offices
of Steve S. Efron, counsel for MTA Metro-North Railroad Company (“MTA-MN”), to provide
my opinion regarding the analysis of alleged economic damages put forth by Steven J. Shapiro,
Ph.D. (Dr. Shapiro) as set forth through Expert Report Concerning Thomas Moran’s Lost Earnings
Capacity dated December 14, 2019 and the Supplemental Expert Report Concerning Thomas
Moran’s Lost Earnings Capacity dated January 31, 2020 (jointly referenced hereby as “Dr.
Shapiro’s report”) and to provide analysis and professional opinion regarding the potential

economic damages to Mr. Thomas Moran (“Mr. Moran”) in connection with this litigation.

The analysis delineated in the Tranfa-Abboud 2020 report predates two important events that are
independent of one another, that are unrelated to the claims in this litigation, and which would
have likely affected Mr. Moran’s work hours and, hence, his total compensation: (1) the unique
circumstances surrounding year 2020 in connection with the COVID-19 pandemic and related
closures affecting ridership and service supply and demand, and (2) the recent policy changes

implemented by the MTA geared towards reducing the amount of Overtime Pay and its effects on
the MTA budget.

 

Thomas M. Moran vy. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 3 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 5 of 32

This supplemental report has been prepared in light of these two significant events and pursuant

to the request by counsel for the MTA-MN to provide an updated analysis of Mr. Moran’s alleged

economic damages.

It is important to note that the effects of the COVID-19 pandemic as well as the implementation
of overtime-related policies by the MTA continue to evolve, and therefore, it is necessarily the
case that the data that is currently available does not capture all the effects of these events. As the
circumstances of the COVID-19 pandemic allow for a return to a higher level of normalcy, the
supply and demand of public transportation will likely change, and the effects on the overtime pay
of MTA employees will also likely change. In similar fashion, as the overtime-related policies by
the MTA continue to be implemented, the effects of these policies on the hours worked by

employees of the MTA will likely continue to change.

Accordingly, it may take some time before the data necessary for a more detailed analysis becomes

available. Therefore, the analysis presented hereby is based on the best data available to date.

Contingent on the future availability of further data, my analysis and this report may be further

supplemented, if requested.

Section I] of this report provides the list of the additional documents received after the ‘Tranfa-
Abboud 2020 report was issued. The summary of the analysis and results is presented in Section
III. Section IV presents the details of the updates incorporated into the analysis of Mr. Moran’s

alleged economic damages.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 4 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 6 of 32

Il. List of Additional Documents

The following records have been reviewed over the course of this engagement and have been

considered in forming my opinions:

1. Addendum letter report re: Thomas Moran by the Medical Board, signed by Joseph
Bottner, MD (Metropolitan Transportation Authority) and David D’ Soure, MD (Mount
Sinai Beth Israel) dated March 2, 2021.

2. MTA Annual Report on Overtime (FY 2020 Review) dated March 2021.

3. Email correspondence from Steve Weiss, Financial Liaison, MTA Metro-North Railroad,
MTA Office of the Chief Financial Officer, dated July 30, 2021, containing overtime pay
data for Thomas Moran for years 2014-2017, and Metro-North Railroad overtime statistics
for the period 2018 through July 2021.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 5 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 7 of 32

il. Summary of Updated Analysis and Results

The analysis and opinions delineated in this report regarding the alleged potential economic
damages to Mr. Moran are based on the facts and information extracted from the records,
documents, and information available to date. The results of the analysis presented in this report

are to be considered supplemental to the results presented in the Tranfa-Abboud 2020 report.

As discussed in the Tranfa-Abboud 2020 report, the estimated amount of Mr. Moran’s alleged
potential economic damages is based on the premise of a finding of liability, and based on the
assumption that, in the absence of the alleged wrongdoing, Mr. Moran may have continued to work
for the MTA Metro-North Railroad (“MTA-MN”) in the same capacity as Conductor until his age

of eligibility for retirement.

As will be discussed in more detail in the sections that follow, the analysis presented here is based
on assumptions that have been established based on the data available to date to estimate the
potential effects that COVID-19-related closures and current overtime related policies by the MTA

may have had on Mr. Moran’s potential compensation.

One of the central assumptions in the analysis presented in the Tranfa-Abboud 2020 report was
that Mr. Moran may have continued to earn “Extra Wages” (which includes Overtime Pay) at a
rate consistent with his historical earnings records. However, the analysis presented in the Tranfa-
Abboud 2020 report predates the COVID-19-related MTA-MN service supply and demand

changes and the implementation of the current MTA policies that are geared towards the control

of overtime.

The analysis presented hereby takes into account the fact that the COVID-19-related closures and
the current MTA policies geared towards the control of overtime would have likely impacted Mr.
Moran’s hours worked and resulting compensation. More specifically, it is likely that Mr. Moran’s

Overtime Pay may have declined significantly starting in March 2020.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranja-Abboud, Ph.D., CFE, MAFF
Page 6 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 8 of 32

As will be discussed in more detail in later sections of this report, based on historical data, Mr.
Moran earned “Extra Wages” that represented a 77.6% premium over his Base Wages (including
Overtime Pay). The amount of Mr. Moran’s historical Overtime Pay (which is included as part of

his “Extra Wages”) represented a 62.8% premium over his Base Wages for the period 2014-2016.

The analysis presented here is based on the assumption that, as a result of the effects of COVID-
19 and the MTA policies on overtime, the amount of Mr. Moran’s Overtime Pay may have been
reduced to be equivalent to a 19% premium over his Base Wages in years 2020 and 2021, and
increased to reach a 50% premium over his Base Wages in years 2022 and 2023. Based on the
board-mandated 5% reduction in overtime expenditures, it is further assumed that from year 2024
forward, the amount of Mr. Moran’s Overtime Pay may have increased further to be equivalent to
a 57.8% premium over his Base Wages, i.e., five percentage points below Mr. Moran’s historical

average premium of 62.8% over his Base Wages.

It is important to note that these assumptions are solely intended to provide an illustration of the
potential effects that COVID-19 and the MTA policies on overtime may have had on Mr. Moran’s
Overtime Pay and resulting total compensation. This illustration is offered in the interim that
further data becomes available. Accordingly, the results of this illustrative analysis may change

if/when further detailed data is provided.

Based on the above, and in the event of a finding of liability, it is my professional opinion that the

estimated amount of Mr. Moran’s economic damages is as follows:

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 7 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 9 of 32

 

UPDATED as of August 18, 2024

Summary of Economic Damages in Nominal Terms

Age 60 Age 52

Past Loss (Date of Incident to 12/31/2021) $414,373 $414,373
Net Future Loss of Wages and Pension (from 01/01/2022 to Worklife) $1,534,195 $1,931,672
Total Past and Future Loss $1,945,568 $2,343,045

Summary of Economic Damages in Present Value Terms

Age so ___ Age 62

Past Loss (Date of Incident to 12/3 1/2021) $411,373 $411,373
Net Present Value of Future Loss of Wages and Pension (from 01/01/2022 to Worklife) $1,201,401 $1,467,589
Total Past and Present Value of Future Loss $4,612,774 $1,878,962

 

 

 

Exhibits offering all the details of the analysis of Mr. Moran’s alleged economic damages are

presented at the end of this report.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 8 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 10 of 32

IV. Updates to the Analysis of Allesed Economic Damages

The analysis delineated in the Tranfa-Abboud 2020 report predates two important events that are
independent of one another and unrelated to the claims in this litigation, and which would have

likely affected Mr. Moran’s work hours and, hence, his total compensation:

1) The COVID-19 Pandemic: The government response to the COVID-19 pandemic resulted in
statewide closures that affected the ridership of public transportation for the majority of year

2020, which continued in 2021, and which continue to evolve as of the date of this report.

2) Policy and Practices Changes by the MTA: Based on the MTA Annual Report on Overtime
(FY 2020 Review) dated March 2021 (“the Overtime Report”), and starting in year 201 9, the
MTA Overtime Task Force (“MTA-OTTF ”) commenced a process geared towards addressing
overtime issues “to make sure that overtime is used only when necessary or when it is the most
efficient and cost-effective option.” Accordingly, the MTA commenced the implementation of
fifteen recommendations made by Morrison & Foerster via the report titled “Report on
Findings and Recommendations for the Metropolitan Transportation Authority, Overtime
Policies and Procedures” dated August 15, 2019 (“the Morrison & Foerster report”), and four
additional recommendations made by the MTA Inspector General, all geared towards the
improvement of overtime management practices. Following those recommendations, the
MTA-OTTF “put in place the policies and procedures necessary to better control overtime and

drive the message to all levels of the organization.”

Both the COVID-19-related response and closures and the current MTA policy on overtime have
likely had a significant impact on the amount of overtime earned by employees of the MTA as a

whole, as well as the amount of overtime earned by employees of the Metro-North Railroad

(“MNR?).

It is also important to distinguish between a non-structural, temporary event and a structural,

potentially more permanent event. While the changes related to the COVID-19 pandemic response

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 9 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 11 of 32

are most likely temporary in nature, with a likely return to pre~COVID patterns as the ridership
returns to more normal levels, the changes implemented by the MTA related specifically to the

contro! of overtime and its effects on the MTA budget may be more permanent in nature.

The following table, which was also presented in the Tranfa-Abboud 2020 report, reflects Mr.

Moran’s W~-2 reported wages, and the premium above Base Wages earned by Mr. Moran:

“Additional Wages”

Year W-2 Wages As % of Base Wages

2012 $125,560 53.7%

2013 $133,028 58.0% —

2014 $143,755 65.8%

2015 $206,585 131.2%

2016 $162,680 79.4%
Average 2012-2016 77.6%

Based on the above table, it was established that Mr. Moran’s “Additional Wages” (also referred
to herein as “Extra Wages”) represented a premium of 77.6% over Base Wages in years 2012-
2016,

The following additional information has been provided by the MTA through email

correspondence: }
Overtime Pay
Premium
Estimated Overtime Over

Year W-2 Wages Base Wages Pay Base Wages
2014 $143,755 $86,726 $52,092 60.1%
2015 $206,585 $89,348 557,508 64.4%
2016 $162,680 $90,688 $57,938 63.9%

Average 2014-2016 62.8%

 

' Email correspondence from Steve Weiss, Financial Liaison, MTA Metro-North Railroad, MTA Office of
the Chief Financial Officer, dated July 30, 2021, containing overtime pay data for Thomas Moran for years
2014-2017, and Metro-North Railroad overtime statistics for the period 2018 through July 2021.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, ei al.

Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 10 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 12 of 32

As can be noted from the above table, Mr. Moran’s total annual wages as an employee of MTA-
MN included a significant component of Overtime Pay. In fact, Mr. Moran’s Overtime Pay was

equivalent to an average premium of 62.8% over his Base Wages during the three-year period
2014-2016.

In addition to the above, the following information has been provided by the MTA through email

correspondence:?

a. “Mr. Moran’s overtime pay puts him in the top 10% of conductor overtime recipients.”

b. Mr. Moran’s reported W-2 wages for year 2015 ($206,585), and which were significantly
higher than his historical wages in 2012-2014, included retroactive pay that resulted from

a new labor agreement. The wages that Mr. Moran earned in 2015 totaled approximately
$174,000.

c. The “Average Overtime Earnings of Top 10%” of overtime-earning employees on the New

Haven Line Train Service was reported to be $51,211 in 2018, $50,297 in 2019, and
$28,800 in 2020.

Based on this information, it is established that the average Overtime Pay of the top 10% of
employees on the New Haven Line Train Service decreased by 2% in year 2019 relative to year

2018, and declined by approximately 43% in year 2020 relative to year 2019.

At this time, it is assumed that the decline in the average Overtime Pay of employees on the New
Haven Line Train Service in 2020 was a result of the combined effects of the changes to the MTA-

MN service supply and demand due to COVID-19, as well as the changes implemented by the

 

? Email correspondence from Steve Weiss, Financial Liaison, MTA Metro-North Railroad, MTA Office of
the Chief Financial Officer, dated July 30, 2021, containing overtime pay data for Thomas Moran for years
2014-2017, and Metro-North Railroad overtime statistics for the period 2018 through July 2021.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 11 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 13 of 32

MTA to address and control overtime. It is further assumed that Mr. Moran’s Overtime Pay may
have decreased in a fashion aligned with the decrease in the “Average Overtime Earnings of the

Top 10%” reflected in the email correspondence received from the MTA.

In addition to the above, the following information is extracted from the MTA 2020 Overtime
Report:

a) “MTA-wide, overtime spending dropped dramatically in both 2019 and 2020 when
compared to the prior year — 9% in 2019 and another 10% in 2020.”

b) “Broadly speaking, the analysis shows that the full short-term/long-term cost of an average
hour of straight time versus an hour of overtime for employees not in their FAS [Final
Average Salary] years is equal. But an average hour of overtime for employees in their

FAS years, which often is mandated by work rules, is much greater than an hour of straight

time.”

c) “In short, the use of overtime is an important tool for the MTA. The key is to make sure

that it is only used when essential and that it represents an efficient use of resources.”

d) “The 2020 operations overtime budget reflects an MTA-Board mandated 5% ($4.8M)
reduction that was incorporated in the 2020 Budget adopted in February.”

e) “Metro-North’s 2020 Scheduled Service overtime reflects significant savings compared to
the budget due to the impacts of reduced service due to COVID-19. Metro-North reduced
train service at the end of March to 63% of pre-COVD service levels with a further
reduction to 43% implemented from mid-April to mid-June. The 63% level of service was

restored in mid-June and has stayed at the level into 2021.”

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 12 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 14 of 32

g)

h)

The prior year’s savings (year 2019) is due to the “increased availability among Train &

Engine staff, minimizing the need to pay overtime for staff to cover scheduled shifts during

their relief days.”

For MTA-MN, “overtime earnings in 2020 are less than 19% of regular pay for overtime
eligible employees.” More than 74% of the overtime earned in 2020 was attributable to

various areas, including train operations and COVID-19-related measures.

For MTA-MN, the percentage of employees who earned “overtime at 50% or more of their

regular pay decreased slightly from 16% to 13%.”

The above information has been incorporated into the analysis of Mr. Moran’s alleged economic
damages to illustrate what may have been the potential effects of COVID-19-related closures and

the current MTA overtime policies on Mr. Moran’s compensation. To that end, the following

assumptions have been made:

A) Overtime Pay versus All Other Categories of “Extra Wages”: It is assumed that the effects

of COVID-19 and the current MTA overtime policies would have affected only Overtime

Pay, and that all other categories of “Extra Wages” would have remained consistent.

As discussed above, Mr. Moran’s “Extra Wages” (including Overtime Pay) were
equivalent to a premium of 77.6% over Base Wages. Overtime Pay represented a 62.8%
premium over Base Wages. Accordingly, all other categories of ‘Extra Wages” represented

a 14.8% premium over Base Wages.

At this time, it is assumed that, had Mr. Moran continued to work for the MTA-MN, the
amount that he may have earned as “Extra Wages” excluding Overtime Pay would have

continued to be equivalent to a premium of 14.8% over Base Wages.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 13 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 15 of 32

B) Overtime Pay Premium Over Base Wages — Years 2020 and 2021: For years 2020 and

C)

D)

2021, it is assumed that Mr. Moran’s Overtime Pay may have been equivalent to a premium

of 19% over Base Wages.

This is based on information extracted from the Overtime Report, according to which the
MTA-MN’s “overtime earnings in 2020 are less than 19% of regular pay for overtime

eligible employees.”

Overtime Pay Premium Over Base Wages — Years 2022 and 2023: For years 2022 and
2023, it is assumed that Mr. Moran’s Overtime Pay may have increased, and it is assumed

that his Overtime Pay may have represented a premium of 50% over his Base Wages.

This is based on the assumption that by the beginning of year 2022 it is possible that the
level of service and ridership of MTA-MN would continue to increase towards a return to
pre-COVID levels.

Overtime Pay Premium Over Base Wages — Years 2024 to Retirement: For years 2024 and

beyond, it is assumed that Mr. Moran’s Overtime Pay may have continued to increase.

As previously discussed, Mr. Moran’s historical Overtime Pay averaged a 62.8% premium
over his Base Wages. However, and based on the board-mandated reduction of 5% in
overtime expenditures, it is assumed that Mr. Moran’s Overtime Pay may not have fully

returned to its historical levels, and may have been controlled by the 5% mandated

reduction.

Accordingly, it is assumed that as of 2024, the amount of Mr. Moran’s Overtime Pay may

have been equivalent to a 57.8% (62.8% - 5%) premium over his Base Wages.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. T: ranja-Abboud, Ph.D., CFE, MAFF
Page 14 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 16 of 32

This approach is based on the conservative (favorable to Mr. Moran) assumption that the
current MTA overtime reduction-related policies may have had only a limited impact on

Mr. Moran’s Overtime Pay from year 2024 forward.

It is important to note that, as discussed in detail in the Tranfa~-Abboud 2020 report, the retirement
pension that Mr. Moran may have received upon reaching his retirement eligibility age would have

been based on the years of service accrued as of the date of retirement and Mr. Moran’s Final
Average Salary FAS”).

The assumption that Mr. Moran’s Overtime Pay may have remained subject to the board-mandated
5% reduction discussed above has a direct impact on the estimation of Mr. Moran’s alleged loss
of retirement pension benefits. In fact, to the extent that the MTA board-mandated reduction of
overtime by 5% may remain in place as permanent structural change, such policy may have

impacted Mr. Moran’s Overtime Pay during his FAS years, which, in turn, would have impacted

his retirement pension benefits.

As discussed in Section I of this supplemental report, the effects of the COVID-19 pandemic as
well as the implementation of overtime-related policies by the MTA continue to evolve, and
therefore, it is necessarily the case that the data that is currently available does not capture all the
effects of these events. As the circumstances of the COVID-19 pandemic allow for a return to a
higher level of normalcy, the supply and demand of public transportation will likely change, and
the effects on the overtime pay of MTA employees will also likely change. In similar fashion, as
the overtime-related policies by the MTA continue to be implemented, the effects of these policies

on the hours worked by employees of the MTA will likely continue to change.

Accordingly, it may take some time before the data necessary for a more detailed analysis becomes

available. Therefore, the analysis presented hereby is based on the best data available to date.

Contingent on the future availability of further data, my analysis and this report may be further

supplemented, if requested.

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
‘ Page 15 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 17 of 32

The details of the recalculation of Mr. Moran’s alleged economic damages are presented in the
exhibits that follow. The exhibits that follow can be readily compared to the exhibits included with
the Tranfa~-Abboud 2020 report, with the shaded areas reflecting analysis updates. This approach

is intended to facilitate the reader’s side-by-side review of this supplemental report and the Tranfa-
Abboud 2020 report.

It is also important to note that the Past and Future periods of damages have been adjusted to reflect
an assumed trial date of January 2022. Accordingly, the period of Past damages extends from the
date of the incident to December 31, 2021, and the period of Future damages extends from January
1, 2022 to the end of the two scenarios of Mr. Moran’s remaining worklife, i.e., age 60 (Scenario
I) and age 62 (Scenario II).

The discussion and analysis delineated throughout the various sections of this report is based on
the records and information available to date. Should any additional information become available
before or at trial that would significantly affect the results of my analysis, I reserve the right to

update my analysis and to supplement this report accordingly, if requested,

Respectfully submitted,

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF

 

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 16 of 20
 

Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 18 of 32

 

SCENARIO 1: Past and Future Lost Compensation: Thomas Moran Works Until Age 60
UPDATED 2021-8-18

 

 

 

Comy ion in the Absence of tajury
"Extra Wages"
Estimated
Overtime Estimated
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Extra Wages Extn Wages Wages
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Base 62.8% 14.84% 77.6% Estimated North Tier f Tier i Medicare Income Net
Year Age Wages Over Over Over Total Pension Contribution Contribution Contribution Taxes Compensation
2.50% Base Wages Base Wages Base Wages Wages 6.20% 4.90% 1.45%

2017.59 48,34 $37,946 $23,820 $5,630 $29,449 $67,395 (S977) (S14015) $52,403
2018 48.75 $94,980 $59,621 $14,09) $73,712 $168,692 (87,961) ($4,675) (82446) ($35,936) $117,674
2019 49.75 $95,279 $59,809 $14,136 $73,944 $169,224 ($8,240) ($4,836) ($2454) (S35,841) $217,853

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19.0% 14.84% 33.8%
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Base Wages Base Wages Base Wages
2020 = 50,75 $97,661 $18,556 $14,489 $33,045 $130,706 (88,537) ($5,013) (S1,895) (527,795) $87,466
202i 51.75 $100,103 $19,019 $14,853 $33,871 $133,974 {58,800} (85,158) (S1,943) ($28,628) S89.444

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50.0% 14.84% 64,8%
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Base Wages Base Wages Bnse Wages
2022 5275 = $102,605 $51,303 $15,223 $66,525 $169,130 (89,071) ($5,308) ($2452) ($36,313) $115,986
2023 «53.75 $105,170 $52,585 $15,603 $68,188 SI73,359 ($9,351) ($5,462) {S2514) (S37 396) $418,636
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57.8% 14.84% 72.6%
Over Over Over
Base Wages Base Wages Base Wages
2024 «54.75 = $107,800 362,278 $15,993 $78,271 $186,071 {$9,639} (85,620) ($2,698) ($40,323) $127,793
2025 «55.75 $110,495 $63,835 316,393 $80,228 St9,723 (89,936) ($5,783) (S2,765) (841,519) $330,719
2026 «56.75 = $113,257 365,431 $16,803 $82,234 $195,491 {$10,242} (85,951) ($2,835) ($42,748) $133,716
2027 «57.75 S116,088 $67,067 $17,233 $84,290 $200378 (S10,557) ($6,123) ($2,905) ($44,008) $136,784
2028 = $8.75 $118,994 $68,743 337,654 $86,397 $205387 ($10,883) ($6301) {$2,978}  (S45,302) $139.924
2029 59.75 $30,491 317,615 34,524 $22,139 $52,631 $68,505 (3263) ($2,579) {8763) (S2i,84) $93,347
2030 60.75 $102,758 {S16,018) $86,740
2031 61.75 $102,758 {515,854} $86,904
2032 = 62.75 $102,758 ($15,687) $87,071
2033 63.75 $102,758 ($15,518) $87,240
2034 (64.75 $102,758 {S15346) = $87,412
2035 = 65.75 $102,758 {$15,172} $87,586
2036 (66.75 $102,758 ($14,995) $87,762
2037 67.78 $102,758 ($14,817) $87,941
2038 68.75 $102,758 ($14,636) $88,122
2039 69.75 $102,758 ($14,452) $88,306
2010 (70.75 $102,758 (S14265) —- $BB,493
2041 71.75 $102,758 ($14,208) —_$88,5s0
202 0 (72.75 . $102,758 (514,162) $88,596
2093 (73.75 $102,758 (S145) 988,643
2044 (74.75 $102,758 ($14,067) $88,691
205 75.75 $102,758 {$14,018) $88,740
2016 76.75 $102,758 (S13,969) $88,789
2047) (77.75 $102,758 (313,919) $88,840
2018 = 78.75 $84,262 (SIL414) $72,848

 

 

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 17 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 19 of 32

 

 

 

SCENARIO I - Continued: Past and Future Lost Compensation: Thanias Moran Works Until Age 60
UPDATED 2021-8-18
Post-Injury Compensation
Metro Social
North Retirement Security and Income Net Net
Year Age Pension Wages Benefits Medicare Trx Compensation Loss
2.50% 5.80%

2017.59 48.34 $52,403
2018 «48,75 SUT,G74
2019 49,75 SHEL7,853
2020 50.75 $18,482 $1,072 (81,414) so $18,140 $69,326
2021 SLWS $37,579 $2,180 ($2,875) ($1,556) $35,328 $54,117
2022 «52.75 $38,538 $2,234 ($2,947) (S1,646) $36,160 $79,826
2023) 53.75 $39,481 $2,290 ($3,020) (81,739) $37,912 SBI ,625

2024 54.75 $40,468 $2,347 (83,096) (S1,896) $37,824 $89,967
2025 55.75 S41 480 $2,406 ($3,173) (82,067) $38,646 $92,073
2026 © 56,75 $42,517 $2,466 ($3,253) (82,178) $39,552 $94,163
2027) (57.75 343,580 $2,528 ($3,334) {$2,294} $40,480 $96,304
2028 = 58.75 $44,669 $2,591 ($3,417) ($2,411) £41,432 $98,492
2029 59.75 SHILS4] S669 {$883) so SH327 $82,020
2030 «= 60,75 so so $86,740
2031) 61.75) $21,527 $o $21,527 $65,377
2032 «62.75 $51,664 (83,469) $48,195 $38,876
2033 «63.75 $51,664 (83,428) $48,236 $39,004
2034 64.75 $51,664 (83,387) $48,277 $39,335

2035 65.75 $51,664 ($3,345) $48,319 $39,267 .
2036 «66.75 $51,664 {$3303} 348,361 $39,402
2037 67.75 $51,664 ($3,259) S48,405 $39,536
2038 «668.75 $51,664 ($3,216) $48,448 $39,674
2039 «69.75 $51,664 {$3,171} $48,493 $39,813
2040 «70.75 $51,664 ($3,126) $48,538 $39,955
2041 «7175 $51,664 ($3,081) $48,583 $39,966
2042 «72.75 $51,664 (83,035) $48,629 $39,967
2043 73.75 $51,664 (82,988) $48,676 $39,957
2044 «= 74.75 $51,664 {$2,940} $48,724 $39,967
2045 75.75 $51,664 (82,892) $48,772 $39,967
2046 676.75 $51,664 ($2,843) $48,821 $39,968
2047) «77.75 $51,664 ($2,793) $48,871 $39,969
2048 = 78.75 841,942 (S2,268) $39,674 333,174

Totnt Past and Future $1,945,568

Present Value $1,612,774

 

 

 

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF

Page 18 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 20 of 32

 

SCENARIO Hi: Past and Future Lost Compensation: Thomas Moran Works Until Age 62
UPDATED 2021-8-18

 

 

 

Compensation inthe Absence af Injury
"Extra Wages"
Estimated
Overtime Estimated TOTAL
Component of Other Extra

Extra Wages  Extrn Wages Wages
Equivalent to Equivalent io Equivalent to

 

 

8 Premium of a Premium of a Premium of Metro
Base 62.8% 14.84% 118% Estimated North Tier { Vier I Medicare Income Net
Yeor Age Wages Over Over Over Total Pension Contribution Contribution Contribution Taxes Compensation
2.50% Base Wages Base Wages Base Wapes Wages 6.20% 43% 145%

2017.59 48.34 — S37,46 $23,820 $5,630 $29,449 $67,395 (S977) (St4015) $52,403
2018 48.75 $94,980 $59,621 $14,091 $73,712 $168,692 ($7,961) ($4,675) ($2446 ($35,936) S117,674
2019 49.75 = $95,279 559,809 $14,136 $73,944 $169,224 {$8,240} (84,836) ($2454) (535,841) $437,853

Decline to be Rentain Decline te be

Equivalent to Equivalent to Equivalent to
aPremium of oaPremium of a Premium of

19.0% 14.84% 33.8%

Over Over Over

Bose Wages Base Wages Base Wages
2020 50.75 897,66! $18,556 $14,489 $33,045 $130,706 ~ (88,537) {S5013} (S1,895) ($27,795) $87,466
2021 3175 $100,103 $19,019 $14,851 $33,871 $133,974 ($8,800) ($5,158) (51,943) (828,628) $89,444

Tnerense te be Remnin Increase to be
Equivalent to Equivalentte Equivalent to
a Premium of 2 Premiunvof n Premium of

50.6% 14.84% 64.8%
Over Over Over
Base Wages Base Wages Base Wages
3023, $2.75 $102,605 $51,303 $15,223 $66,525 $169,330 ($9,071) ($5,308) ($2,452} (536313) $115,986
2023 «53,75 = $105,170 $52,885 315,603 $68,188 $173,359 ($9351 ($5,462) (52514) (S37396) $118,636
Return to be Remain Retum te be

Equivalent to Equivalent to Equivalent to
aPremium of oPremiumof 2 Premium of

 

57.8% 14.84% 726%
Over Over Over
Base Wages Base Wages Brse Wapes
2024 «54.75 $107,800 $62,278 $15,993 $78,271 $386,071 (89,639) ($5,820) ($2,698) ($40,329) $127,791
2025 55.75 $110,495 $63,835 $16393 $80,228 $190,723 (89,936) ($5,783) (82,765) ($41,519) $130,719
2026 56.75 $113,257 $6543} $16,803 $82,234 $195,491 ($10,242) (85,951) ($2,835) ($42,748) $133,716
2027 «57.75 $116,088 $67,067 $17,223 $84,290 $200,378 ($10,557) ($6,123) ($2908) ($44,008) $136,784
2028 «438,75 9 $118,991 $68,743 $17,654 $86,397 $205,387 ($10,883) {86301} ($2,978) (SA5302) «=: $139,924
2029 59.75 $121,965 $70,462 $18,095 $88,557 $210,522 (S1E,218) ($6,484) (53,053) ($46,632) $143,137
2030 60.75 $125,014 $72,223 $18,547 $90,771 $215,785 ($11,563) (86,672) ($3,129) (847,996) $146,425
2031 «GILLIS =—- $33,316 $19,248 $4,943 $24,190 $57,507 $87,052 (85,065) ($4,003) ($834) ($26,813) $107,844
2032 62.75 $130,578 ($22,906) $107,672
2033 (63.75 $130,578 ($22,730) $107,848
2034 «64.75 $130,578 ($22,552) $108,026
2035 65.75 $130,578 ($22,371) $108,207
2036 «66.75 $130,578 (822,188) $108,390
2037: «67.75 $130,578 ($22,002) $108,576
2038 68,75 $130,578 (S21,813) $108,765
2039 «69.75 $130,578 (823,622) $108,955
2010 70.75 $130,578 . ($21,428) $109,149
2041 71,75 $130,578 ($21,232) $109,346
2042 (72.75 $130,578 {$21,032} $109,546
2043 (73.75 $130,578 (S20,830) $109,747
2044 74.75 $130,878 ($20,626) $109,952
2045 75.75 $130,578 ($20,418) $110,160
206 76.75 $130,578 (820208) $110,370
2047 77.75 $130,578 ($19,994) S$ 10,584
2048 «= 78.75 $107,074 ($16,395) $90,679

 

 

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 19 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 21 of 32

 

 

 

SCENARIO H - Continued: Past and Future Lost Compensation: Thomas Vionin Werks Until Age 62
UPDATED 2021-8-18
Post-Injury Compensation
Metro Social
North Retirement Seeurity and Income Net Net
Year Age Pension Wages Benefits Medicare Taxes Compensation Less
2.50% 5.80%

2017.59 48.34 $52,403
2018 48.75 3117,674
2019 49.75 SH17,853
2020 50.75 318,482 $1,072 (51,414) $0 318,146 $69,326
2021 $1.75 $37,579 $2,180 (82,875) {S1,556) $35,328 354,117
2022 «52.75 $38,518 $2,234 ($2,947) ($1,646) $36,160 $79,826
2023 (53.75 $359,481 $2,298 {$3,020) ($1,739) 337,012 $81,625
2024 = 54.75 $40,468 $2,347 ($3,096) {(S1,896) $37,824 389,967
2025 = 55.75 341,480 52,406 ($3,173) ($2,067) $38,646 $92,073
202 56,75 342,517 S2,A66 ($3,253) ($2,178) $39,552 $94,163
2027 (57.75 $43,580 $2,528 (83,334) ($2,294) $40,480 $96,304
2028 = $8.75 $44,669 $2,593 (S3417} ($2,411) $41,432 398,492
2029 = 59,75 345,786 $2,656 ($3,503) ($2,532) $42,407 $100,730
2030 «60,75 M693} $2,722 ($3,550) ($2,658) 343,405 $103,024
2031 GL.7S = $21,527 $12,125 $703 {$928} {(SE,106) 332321 $75,523
2032 «62.75 $51,664 ($3,469) 348,195 $59,477
2033 «63.75 $54,664 ($3,428) $48,236 S59,61E

2034 «64.75 $51,664 ($3,387) $48,277 $59,748

2035 «65.75 = $51,664 (83,345) S48319 $59,888

2036 «66.75 $51,664 ($3,303) $48,361 $60,029
2037) «67.75 SS1,664 (83,259) $48,405 $60,171
2038 8=68.75 $51,664 (83,216) 348,448 $60,317

2039 «69.75 $51,664 (3,171) $48,493 $60,462
2040 «70.75 $51,664 ($3,326) $48,538 $60,611

2041 7175 $53,664 (83,081) $48,583 $60,763

2042 72.75 $51,664 ($3,035) 348,629 $60,917

2043 73.75 = $51,664 ($2,988) $48,676 $61,072

2044 «74,75 $51,664 ($2,940) $48,724 $61,227

2045 «75.75 = $51,664 ($2,892) 348,772 $61,388

2046 «76.75 = $51,664 ($2,843) 343,821 561,549

2047) 77.75 $51,664 ($2,793) $48,871 $61,713

2048 «78.75 = $41,942 ($2268) $39,674 $51,005

$2,343,045
Present Value $1,878,962

 

 

 

 

Thomas M. Moran v. MTA Metro-North Railroad Company, et al.
Supplemental Economist Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
Page 20 of 20
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 22 of 32

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
jlabboud@analyticaleconmics.com

 

 

Direct: 973-590-2722
Main: 973-975-4710 ext. 100
Mobile: 973-563-5630
Fax: 973-975-4720

Mail Address: 89 Headquarters Plaza, #1208, Morristown NJ 07960
GPS Address: Headquarters Plaza, 43 Speedwell Avenue, North Tower, 12" Floor, Morristown NJ 07960 -

STATEMENT OF COMPENSATION
Re: Thomas M. Moran v. MTA Metro-North Railroad Company, ef al.

Analytical Economics Associates LLC (AEA) will be compensated for the professional services ~
provided in connection with the above-referenced matter as follows:

e The portion of my time dedicated to all professional services provided in connection with
my analysis in this matter, including, but not limited to, review of documents, analysis,
research, discussions (internal and with counsel, report preparation, and testimony will be
invoiced at the rate of $450 per hour.

¢ The billable rate of professional staff working under my supervision is in the range of $100
to $265 per hour.

¢ The fees for services rendered through the date of release of the Supplemental Economist
Expert Report of Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF dated August 18, 2021
have not yet been totaled, and will be invoiced a few days after the release of the report.

Respectfully submitted,

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oo eg ye
F \ LgZllao))

Josefina V. Tranfa~-Abboud, Ph.D., CFE, MAFF

jtabboud@analyticaleconomics.com
Main: 973-975-4710 ext. 100

Direct: 973-590-2722

 
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 23 of 32

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ANALYTICAL ECONOMICS ASSOCIATES

 

 

 

 

Exhibit “A”
Curriculum Vitae
Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF
(Updated as of July 2021)
Mailing Address: 89 Headquarters Plaza, #1208, Morristown NJ 07960
GPS: Headquarters Plaza, 43 Speedwell Avenue, North Tower, 12" Floor, Morristown, NJ 07960

Education and Credentials

* Ph.D., Florida State University, Tallahassee, Economics, 1998

Fields: Labor Economics; Industrial Organization and Regulation
MAFF, National Association of Certified Valuators and Analysts, 2014
CFE, Association of Certified Fraud Examiners, 2014

Graduate Studies, Economics Institute, Boulder, CO, 1992

B.S., Universidad Central de Venezuela, Caracas, Venezuela, 1990

w es i a

Professional Experience

Analytical Economics Associates LLC, NJ
President and Chief Economist — May 2016 to Present
Responsible for deliverables to clients and all aspects of economic and statistical analysis, research, economic
damages calculations, preparation of economic expert reports, and expert testimony in State and Federal matters
involving claims in: oe

a) Labor and employment;

b) Personal injury (including Life Care Plan projections);

c) Wrongful death:

d) Product liability;

8) New York State CPLR §4545 Articles 50-A and 50-B application;

f) Commercial damages modeling and analysis (such as breach of contract, business interruption,

intellectual property disputes);

g) Legal malpractice;

h) Statistical and economic damages analysis in connection to anti-discrimination legislation;

i) Executive compensation studies.

Marks Paneth LLP; New York, NY
Principal — Financial Advisory Services — January 2013 to April 2016
Director — Financial Advisory Services — January 2010 to December 2012
Manager — Financial Advisory Services — July 2007 to December 2009
Responsible for deliverables to clients and all aspects of economic and statistical analysis, research, economic
damages calculations, preparation of economic expert reports, and expert testimony in State and Federal matters
involving claims in:
a) Labor and employment;
b) Personal injury (including Life Care Plan projections) and wrongful death;
c) Product liability;
d) New York State CPLR §4545 Articles 50-A and 50-B application;
e) Commercial damages modeling and analysis;
f) Legal malpractice;
&) Statistical and economic damages analysis in connection to anti-discrimination legislation;
h) Executive compensation studies.
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 24 of 32

JTA Economic Consulting, LLC; Morristown, NJ
Projects:

* Research and analysis on the effects on competition in health care provision markets — 2007
* Economic Consulting Services for MPS/Zaumeyer Economic Consulting LLC
An Affiliate of Marks Paneth & Shron LLP; New York, NY
Independent Economic Consultant —- March 2007 to June 2007
* Economic analysis and research in matters related to (a) commercial litigation; (b) insurance claims
including personal injury and wrongful death; (c) employment litigation matters such as wrongful
termination, failure to promote and compensation differential claims; (d) structured settlement analysis
and computations under CPLR 50-A and 50-B regulations.

Economatrix Research Associates, Inc.; New York, NY

Senior Economist - January 2005 to May 2006

* Economic analysis, research and economic damages calculation in (a) pharmaceuticals commercial litigation;
(b) business interruption litigation; (c) employment wrongful termination and failure to promote litigation; (d)
personal injury litigation.

* Research and study specific industries as related to specific projects, including understanding the financial
trends of the market and the specific companies.

* Research reliable sources of data and information, such as data and statistics and studies produced by Bureau of
Economic Analysis, Department of Labor, Glass Lewis Associates, IMS Health, the American Hospital
Association, Generic Pharmaceutical Association, among others.

» Review and understanding of scholarly articles related to case-specific issues.

* Review, analyze and critique opposing expert reports.

= Understanding the process by which specific companies prepare revenues forecasts.

* Prepare simulation analysis of revenue forecasts using Excel based upon case-specific assumptions.

* Prepare reports and other manuscripts as deliverables to clients as well as for internal use.

» Discuss research, methodology and findings with attorneys and clients in the process of delivering intermediate
phase and final phase product.

» Analysis of income and benefits streams, including pension benefits analysis and calculations.

ERS Group, Inc., Washington D.C. and Tallahassee, Florida

Research Economist — September 1998 to May 2003

= Conducted economic and statistical analysis and research related to human resources policies and practices,
prepared analyses, reports and expert opinion in employment litigation matters related to human resources
decisions such as compensation, hiring, terminations, promotions, demotions, training, and job channeling,

* Analyzed large computerized databases to evaluate integrity of information and to conduct statistical analyses.

* Wrote and reviewed computer programs in SAS, SPSS and STATA to conduct statistical analyses.

* Trained project participants in the use of SAS, SPSS and STATA.

* Responsible for projects involving economic and statistical analyses related to employment litigation, as well
as analysis involving both auditing and monitoring of HR policies and practices, including OFCCP and
Affirmative Action compliance analyses.

Designed analysis and established model specifications in accordance to organizational structure and Human
Resources policies and decisions.

» Managed projects involving the estimation of economic losses associated with employment litigation, as well
as litigation involving exposure to hazardous materials,

* Interpreted analysis results and prepare draft reports.

 

Josefina V, Tranfa-Abboud, Ph.D., CFE, MAFF Page 2 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 25 of 32

* Conducted literature reviews relevant for project specific issues and prepare informative documentation on
relevant issues in the current economics literature.

* Discussed with clients data characteristics, human resources and compensation policies and practices
preparation of databases for analysis and corresponding results.

3

Teaching Experience in the United States and Abroad

Rutgers University Department of Public Administration. Ph.D. Propram — Newark, New Jersey
Visiting Professor — Fall 2003 to Spring 2004

Course: Quantitative Methods I and I] — (Ph.D. level research methods and econometrics course)

Florida State University - Department of Economics - Tallahassee. Florida
Teaching Assistant — Spring 1997 to Spring 1998
Courses: Introduction to Economic Thinking

Principles of Microeconomics

Economics of Industrial Organization

Universidad Central de Venezuela, Department of Economics — Caracas, Venezuela
Instructor — January 1990 to August 1992
Courses: Principles of Computer Science

Professional Experience in Venezuela

Central Budget Office (OQCEPRE) — Caracas, Venezuela

Advisor to the Chief Officer (Asesor del Jefe de Oficina) — April 1992 to September 1992

" Modernization of the Public Administration:
Liaison between the office and the consulting group conducting statistical analyses to evaluate viability of
the new Budget System. Processed, reviewed and provided data as well as other relevant information to the
consulting group.

" echnical Secretary on behalf of OCEPRE to the “President’s Committee for the Revision of Public
Expenditure” (“Comision Presidencial Revisora del Gasto Publico”). Responsible for meetings logistics
and the processing and provision of the information required by the Committee members.

Central Planning and Coordination Office for the State - Caracas, Venezuela

Oficina Central de Planificacién y Coordinacién del Estado (CORDIPLAN)

Advisor to the Director of Short-Term Planning — January 1991 to April 1992

(Asesor al Director de Corto Plazo)

* Assistant to the coordination of the Operating Plan for 1993 (Plan Operativo 1993) and Follow up
Coordinator of the Operating Plan 1992 (Seguimiento del Plan Operative 1992).

* Responsible for the Budget Follow up (PEC - Programa Economico Cuantificado) of 4 publicly owned,
primary industry firms: SIDOR, VENALUM, Ferrominera del Orinoco and BAUXIVEN.

* Participated in the Committee for the Restructuring Plan of the Steel Plant (SIDOR). Project partially funded
by the World Bank. In charge of the analysis and revision of the Auditing Systems of the plant.

 

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF Page 3 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 26 of 32

Publications

“Lost Profits Damages: Court Standards, New v. Unestablished Businesses, and the Economist’s Analysis” in
The Forecast, National Association of Forensic Economics (NAFE), Volume 32, Issue 2, May 2018.

“Damages in Employment Disputes” in Stanley P. Stevenson and David A. McPherson Determining Economic
Damages, Chapter 15, James Publishing, Revision 26, February 2018.

“Lost Profits: The Reasonable Certainty Standards and the Modern New Business Rule,” QuickRead, NACVA,
September 10, 2015.

“Lost Profits, Business Cycles, and the Reasonable Certainty Standard,” QuickRead, NACVA, March 19, 2015.
“Presenting Compensation Estimates To A Jury,” The Metropolitan Corporate Counsel, July/August, 2014.

“Before the Measurement of Lost Profits: Investigating the Business and the Market to “Isolate” the Source of
a Decline,” The Metropolitan Corporate Counsel, June 2013.

“An Introduction to the Operations of CPLR §4545 Article 50-A and Article 50-B: Statutory Computations from

the Perspective of the Economic Expert,” The Basics of Trial Practice: After the Verdict, New York State Bar
Association, April 2013.

“At The Crossroads of Health Care Reform, Corporate Restructuring and Employment Litigation”. The
Metropolitan Corporate Counsel, Volume 20, No. 12, December 2012.

“Employee Benefits: Not All Are Created Equal”. The Metropolitan Corporate Counsel, Volume 20, No. 7,
July/August 2012.

“Compensatory Damages in Lost Wages Claims: The Relevance of Unemployment Trends Adjustments”.
Employee Relations Law Journal, Vol. 37, No. 4, Spring 2012,

“Damages in Labor and Employment Disputes: Designing the Economic Damages Model and the Role of the
Expert”. The Metropolitan Corporate Counsel, Volume 19, No. 11, November 2011.

“Models for Estimating Lost Wages May Be Incomplete”. Interview with CCH, a Wolters Kluwer
Company.CCH Human Resources Management Ideas and Trends, Issue No. 727, October 5, 2011.

“An Alternative Approach to a Critical Issue in Employment: Identifying and Correcting Potential Disparities
in Employee Selections Before They Happen”. Employee Relations Law Journal, Vol. 36, No. 3, Winter 2010.

“The Use of Attrition Rates for Economic Loss Calculations In Employment Discrimination Cases — A Case
Study”, with Paul F. White and Frederick M. Holt. Journal of Forensic Economics, Volume XVI, Number 2,
Published September 2004.

“Reply to ‘Comments on ‘The Use of Attrition Rates for Economic Loss Calculations In Employment
Discrimination Cases —- A Case Study’’”, with Paul F. White and Frederick M. Holt. Journal of Forensic
Economics, Volume XVIII, Number 1. Published Winter 2005.

 

Josefina V. Tranfa~Abboud, Ph.D., CFE, MAFF Page 4 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 27 of 32

Other Publications

“The Forecast Plays 20 Questions with Josefina Tranfa-Abboud” in The Forecast, National Association of
Forensic Economics (NAFE), Volume 33, Issue 3. Summer 2018.

Working Papers

“Assessing Economic Damages in Employment Disputes: Case Studies on the Applicability of Front Pay.”
Presented at the National Association of Forensic Economics (NAFE) Annual Meeting held during the Allied
Social Sciences Association 2021 Annual Meeting — Chicago (virtual conference) January 2021.

“FLSA Claims and Fraud: Recent cases and Analytics in Patterns of Overtime.” Presented at the Eastern Region
Conference of the National Association of Forensic Economics (NAFE) Virtual Conference, February 2021.

Presentations

Panel Discussion: Small Business Roundtable: “Issues Impacting Small Business Owners and their Employees”.
Presented “The Impact of Litigation on Business Owners”. Rothman Institute of Innovation and
Entrepreneurship, Silberman College of Business, Fairleigh Dickinson University, April 2021.

FLSA Claims and Fraud: Recent cases and Analytics in Patterns of Overtime. Eastern Region Conference of the

National Association of Forensic Economics (NAFE) held during the Annual Eastern Economic Association
Virtual Conference, February 2021.

Assessing Economic Damages in Employment Disputes: Case Studies on the Applicability of Front Pay.
National Association of Forensic Economics (NAFE) Annual Meeting held during the Allied Social Sciences
Association 2021 Annual Meeting ~ Chicago (virtual conference) January 2021.

Discussant for the paper titled “What do Women FEs Want — The Survey of NAFE Women Forensic
Economists” by Nora Ostrofe. Eastern Region Conference of the National Association of Forensic Economics
(NAFE) held during the Annual Eastern Economic Association Meetings - Boston, MA. March 2020.

Discussant for the paper titled “Unretirement in the 2010s: Prevalence, Determinants, and Outcomes” by Kevin
Cahill. Southern Region Conference of the National Association of Forensic Economics (NAFE) held during
the Annual Southern Economic Association Meetings ~ Ft. Lauderdale, FL. November 2019.

Damages in Employment Disputes. Eastern Region Conference of the National Association of Forensic

Economics (NAFE) held during the 44™ Annual Eastern Economic Association Meetings - Boston, MA. March
2018,

Economic Damages, Economic Analysis, and Forensic Data Examinations. Eastern Region Conference of the
National Association of Forensic Economics (NAFE) held during the 43 Annual Eastern Economic Association
Meetings - New York, NY. February 2017.

Panel Discussion: Recent Developments in Defense Practice. Eastern Region Conference of the National
Association of Forensic Economics (NAFE) held during the 42"? Annual Eastern Economic Association
Meetings — Washington D.C. February 2016.

 

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF Page 5 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 28 of 32

Economic Damages in Wrongful Death Claims: Legal Framework and Working with the Economic Damages
Expert, Presentation with Gerard H. Hanson, Esq., Hill Wallack LLP — Presentation for the In-House Counsel
Seminar, New Jersey Law Journal. September 2015.

Damages in Employment Disputes: Analysis Before Calculations. Presentation to Day Pitney LLP. November
2014.

Estimating Economic Damages in Personal Injury and Wrongful Death: Analysis First, Projections Follow.
Presentation to the Law Office of Leon Kowalski. November 2014.

Employment Litigation: The “Damages Only” Expert and Elements of Liability”. Presentation with Paul F.

Millus, Esq., Meyer Suozzi English & Klein, P.C. — Presentation for the Master the Practice CLE Seminar, New
York Law Journal. October 2014,

“Tax Liability of Awards and Settlements: Personal Injury and Wrongful Death”. Presentation with Laura
LaForgia, CPA, Marks Paneth LLP, New York, NY. December 2013.

“Constructive Discharge: Building the Case for Reasonable Economic Damages”. Webinar Presentation for the
New York Law Journal, New York. Presentation with Donna A. Napolitano, Esq. of Berkman, Henoch,
Peterson, Peddy & Fenchel, P.C. of Garden City, New York and Thomas Anthony Ricotta, Esq. of White, Ricotta
& Marks, P.C. of Jackson Heights, New York. October 2013.

“The Affordable Care Act (ACA): Is Your 2014 Healthcare Strategy Compliant? Is Your HR Data Ready and
Reliable?” Marks Paneth & Shron LLP, New York, NY. Joint Seminar Presentation with Alan Hahn of Davis
& Gilbert LLP, New York City. May 2013.

“An Introduction to the Operations of CPLR §4545 Article 50-A and Article 50-B: Statutory Computations
from the Perspective of the Economic Expert.” CLE Program - Presentation for the New York Bar Association,
Long Island, New York. April 2013.

“Commercial Damages: Central Analytical Issues and Relevant Information”. Presentation for McElroy
Deutsch Mulvaney & Carpenter LLP, Morristown, New Jersey. July 2012.

“Strategic Options in Employee Relations”. Marks Paneth & Shron LLP, Financial, Litigation, Accounting and
Tax (P.L.A.T.) Seminar Series. Marks Paneth & Shron LLP, New York, NY. Joint Seminar Presentation with
Stephen F. Ruffino and Stephen J.O. Maltby of Gibney Anthony & Flaherty LLP. June 2012.

“Lost Profits Disputes: Foundation for Reasonable Economic Damages”. NJ Law Journal’s In-House Counsel
Seminar, Brooklake Country Club, Florham Park, New Jersey. Presentation with Stuart M. Lederman, Esq.,
Riker, Danzig, Scherer, Hyland, Perretti, LLP. March 2012.

Other Speaking Engagements

Panel Discussion Moderator: “Navigating a Career in Forensic Economics” — 96" Annual Conference of the
Western Economic Association International. NAFE Virtual Sessions June 27-28, 2021.

“Financial Fitness - A Mid-Year Review”. Financial Women’s Association - New Jersey. June 2013.

 

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF Page 6 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 29 of 32

Panel speaker for the program “Navigating New Jersey’s Small Business Economy, Thriving in Challenging
Economic Times”, Fairleigh Dickinson University, Rothman Institute of Innovation and Entrepreneurship.
October 2019.

Ph.D. Dissertation

“Structural Changes in the Norwegian Farm Sector: And Empirical Study of Worker Adjustment Costs to
Leaving Agriculture”. Summer Semester 1998.

Professional Associations and Membershins

National Association of Forensic Economics

American Academy of Economic and Financial Experts
National Association of Certified Valuators and Analysts
Association of Certified Forensic Examiners

Financial Women’s Association

Honors and Awards

* Merit Scholarship for graduate studies in Economics in the United States, granted by Fundacion Gran
Mariscal de Ayacucho, Caracas, Venezuela 1992 -- 1998,

« Nominated for “Outstanding Teaching Assistantship Award 1998”, Economics Department, Florida
State University, 1998.

Volunteer and Community Service

« National Association of Forensic Economics (NAFE)
o Chair: Women of NAFE Committee 2021 / Membership sub-committee
o Nominating Committee 2020
o Nominating Committee 2018
o Committee for the Review of the NAFE’s Ethics Statement 2017: Statement of Ethical Principles
and Principles of Professional Practice (SEPPPP) of the National Association of Forensic
Economics

* Newark Academy, Livingston, NJ: Newark Academy Parents Association Executive Board
o Co-Chair: Engagement, Equity, and Inclusion committee
o Chair: Annual Fund liaison

«= FWA of New York:
o FWA in NJ: Volunteer on various sub-committees and chaired various events 2014-2017
o Former Co-Chair FWA Mentoring Program for Stillman School of Business of Seton Hall
University, Academic years 2015-2016, 2016-2017
o Mentor, Academic Year 2020-2021

 

Josefina V. Tranfa~Abboud, Ph.D., CFE, MAFF Page 7 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23

Deposition and Tria! Testimony

Jurisdiction

American Arbitration
Association
August 2021

Superior Court of New Jersey
Law Division

Middlesex County

March 2021

American Arbitration
Association
October 2018

Supreme Court of New York
County of Bronx
May 2018

Supreme Court of New York
County of Queens
September 2016

Supreme Court of New York
County of Kings
September 2016

Supreme Court of New York
County of Nassau
August 2016

Supreme Court of New York
County of Bronx
January 2016

Supreme Court of New York
County of Kings
November 2015

Case Name

Danielle Malecek v.
Red Hat, Inc.

Ryan Kent v.

Nu Vasive, Inc.

NuVasive Clinical Associates,
American Neuromonitoring Associates,
Impulse Monitoring, Inc.

Shawn L. Masia, M.D.,

Shawn L. Masia, M.D., P.C., and

Kaye Griffin, R. EP T., CNIM

Jose Hernandez v.
NGM Insurance Company

Alex Reyes and Alex Barcelona v.
Eric J. Acevado, Chen Seng Tan and
Little Richie Bus Service, Inc.

Alfred B, Boland and Linda Boland v.
Courtesy Bus Co, Inc. and Manuel Sulca

Sammy Baum, an infant, by his father and
natural guardian, Ari Baum, and Ari Baum,
Individually v. Ziad A Milad and Marble
Lite Inc.

Frank Cristo and Mezza on the Green, Inc.
v. The Incorporated Village of Lawrence,
Martin Oliner, Joel A Mael, Michael A
Fragin, David E. Smollett,

and Leo McMahon

Eugene Stolowski and Brigid Stolowski,
et al. v. 234 East 178" Street LLC and
The City of New York

Inna Grechko, Ind. and as Adm. of the
Estate of Piotr Grinberg, Deceased, et al.
v. Maimonides Medical Center, et al.

Page 30 of 32

Appearance

Deposition

Deposition

Arbitration

Trial

Trial

Trial

Mediation*

Trial

Trial

 

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF

Page 8 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23

United States District Court
Eastern District of New York
June 2015

Supreme Court of New York
County of Nassau
November 2014

United States District Court
Eastern District of New York
May 2014

Supreme Court of New York
County of Queens
January 2014

United States District Court
Eastern District of New York
October 2013

United States District Court
Eastern District of New York
July 2013

United States District Court
District of New Jersey
March 2013

Supreme Court of New York
County of Kings
November 2012

United States District Court
Eastern District of New York
October 2012

Supreme Court of New York
County of Bronx
February 2011

Supreme Court of New York
County of Queens
January 2011

Supreme Court of New York
County of Kings
November 2010

Sally S. Neumann v.
Wyandanch Union Free School District

Nassau Regional Off-Track Betting
Corporation v. KRD Media, LLC
and Dot Digital Networks, Inc.

Christopher Barrella v. Village of
Freeport and Andrew Hardwick as both
Mayor and in his individual capacity.

Monique Hines v. Angel A. Lopez,
Varsity Bus Co., Inc., Logistic Associates,
Inc., City of New York, et al.

Wayne Chrebet v. County of Nassau,
Paul Szymanski, Bohdan Pilezak,
Scott Tusa, et al.

Willie Warren v. County of Nassau,
Nassau County Department of Public
Works, Thomas R. Suozzi, et al.

Federal Trade Commission v. Lane
Labs-USA, Inc., et al

Bina Thakoordyal, as Administrator of the
Estate of Permaul Tulkanam v.
Varsity Bus Co. Inc. and Elliot A. Eustace

Matthew Prince v. County of Nassau,
John Fitzgerald, Lieutenant, Nassau County
Police Department, 1* Precinct, et al.

Eric Berrios v. 735 Avenue of the
Americas, LLC and Plaza Construction
Corporation

Robert Pattison and Kristin Murray v.
The City of New York, Keyspan Corp.,
Consolidated Edison Co. of NY et al.

Christopher Harrison v.
Maurice Andre Bailey, et al.

Page 31 of 32

Deposition

Trial

Trial

Trial

Deposition

Trial

Deposition

Trial

Trial

Trial

Trial

Trial

 

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF

Page 9 of 10
Case 1:19-cv-03079-AT Document 210-2 Filed 07/03/23 Page 32 of 32

Superior Court of New Jersey Mary Ann Pearsall v. Deposition
Sussex County: Law Division Christopher Okechukwu, MD, et al.
April 2010

 

Josefina V. Tranfa-Abboud, Ph.D., CFE, MAFF Page 10 of 10
